    Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 1 of 7 PageID #: 257




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
Plaintiff,                                           )
                                                     )
v.                                                   )       Case No. 4:17-CR-00051-RLW
                                                     )
TRAVION J. BROWN,                                    )
                                                     )
Defendant.                                           )

       RESPONSE IN OPPOSITION TO THE UNITED STATES’ MOTION
        TO AUTHORIZE PAYMENT FROM INMATE TRUST ACCOUNT

        Mr. Travion Brown, through his attorney Nanci H. McCarthy, opposes the

United States’ Motion to Authorize Payment from his trust account for the reasons

set forth herein. His challenges concern the government’s lack of compliance with

18 U.S.C. § 3664(k) and their ability to seize all assets in his inmate trust account.

Because this type of challenge is statutorily authorized, 1 Mr. Brown’s claims are

properly before the Court.

1. This Court lacks jurisdiction to issue the requested remedy because the
government has not complied with the governing statute and has failed to
demonstrate a material change in the defendant’s circumstances.

        The government requests that this Court enter a Restitution Order modifying

Mr. Brown’s sentence under 18 U.S.C. § 3664(k). 2 The relevant parts of that statute

provides:

        “A restitution order shall provide that the defendant shall notify the court
        and the Attorney General of any material change in the defendant’s economic

128 U.S.C. § 3202(d) (2021).
2Doc. No. 72 at 1 (“[The United States] requests this Court enter an Order… to turn over… all funds
held in Defendant’s inmate trust account.”).

                                                 1
    Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 2 of 7 PageID #: 258




        circumstances that might affect the defendant’s ability to pay restitution. The
        court may also accept notification of a material change in the defendant’s
        economic circumstances from the United States or from the victim. The
        Attorney General shall certify to the court that the victim or victims owed
        restitution by the defendant have been notified of the change in
        circumstances. Upon receipt of the notification, the court may, on its own
        motion, or the motion of any party, including the victim, adjust the payment
        schedule, or require immediate payment in full, as the interests of justice
        require.” 3

        a. The government has not proven a material change.

        On May 4, 2018, this Court ordered Mr. Brown to pay $5,400.00 in restitution

and a special assessment of $400.00. 4 As of the date of this filing, Mr. Brown has

paid $317.92 in satisfaction of this criminal fine. Payments have been made from

Mr. Brown’s inmate trust account as he earns nominal amounts for custodial work

assignments. Mr. Brown has no family or employment income sources contributed

to his inmate account. The remaining balance of the fine owed is $5,482.08.

        The government asks this Court to turn over the entirety of Mr. Brown’s

inmate trust account—whatever that may be—to satisfy his restitution obligation. 5

18 U.S.C. § 3664(k) requires the notifying party to inform the court of any “material

change” in the defendant’s economic circumstances. 6 A material change in a

defendant's economic circumstances is identified by an objective comparison of a

defendant’s financial condition before and after a sentence is imposed. 7 A court's


3 18 U.S.C. § 3664(k).
4 See Judgment, Doc. No. 69 at 7.
5 Doc. No. 72 at 1 (“[The United States] requests this Court enter an Order… to turn over… all funds

held in Defendant’s inmate trust account.”) (emphasis added).
6 18 U.S.C. § 3664(k) (2021) (“The court may also accept notification of a material change in the

defendant’s economic circumstances from the United States… Upon receipt of the notification, the
court may… adjust the payment schedule, or require immediate payment in full, as the interests of
justice require.”).
7 United States v. Dye, No. 02-1184, 2002 WL 31245976, at *220 (8th Cir. Oct. 8, 2002).


                                                 2
    Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 3 of 7 PageID #: 259




later understanding that it had sentenced a defendant without full knowledge of his

assets alone does not constitute a material change in economic circumstances. 8

        The government has offered no objective comparison of Mr. Brown’s financial

state. Neither has the government shown that the amount in Mr. Brown’s account

is less than the remainder of his criminal fine (although it almost certainly is as Mr.

Brown is destitute and has no family support to provide funds for commissary or

basic hygiene purchases). Instead, the government asserts that receipt of a single

$1200 tax credit payment demonstrates a change in circumstances and asks this

Court to order the funds turned over based solely on the assumption that Mr.

Brown has “accumulated significant funds,” 9 and that these funds are less than the

amount of his criminal fine.

        The government further asks that all of this unknown balance be seized. 10 An

order to liquidate an inmate’s entire account when his balance is unknown

implicates the Excessive Fines clause and is premature under the statute absent

proof of that balance. 11 Even an increase in the inmate fund balance based upon a

singular stimulus check does not demonstrate a change in economic circumstances




8 Id.
9 Doc. No. 72 at 5.
10 See n.5, supra.
11 See Cani v. United States, 331 F.3d 1210, 1215-16 (11th Cir. 2003) (“the MVRA enables the district

court to modify a restitution order to reflect… a bona fide change in the defendant’s financial
condition, either positive or negative. See 18 U.S.C. § 3664(k). However, neither of these documents
demonstrate that [defendant’s] economic circumstances have changed in any way since the
imposition of his sentence, and thus his present financial status is no different from that
contemplated by the district court when it imposed the restitution order.”); United States v.
Thornbrugh, Case No. 89–CR–0067–CVE, 2018 WL 3193804, at *2 (D. Okla. June 28, 2018) (denying
government’s motion to turn over all funds when government failed to specify the amount by which
defendant’s account was affected.).

                                                 3
 Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 4 of 7 PageID #: 260




as there is no demonstration that Mr. Brown will continue to generate any future

income or receive continual supplements to his inmate account. A singular

stimulus check providing an upward account balance is strikingly different from an

inmate who has had an actual change in circumstances based upon inheritance,

lottery, salary, family support or other format which would indicate a long term on

continual source of revenue. Since the government has not yet complied with the

statute’s required showing of materiality, this Court lacks jurisdiction to grant the

requested relief and the government’s motion should be denied. Even if the Court

finds a change in economic condition to liquidate all of Mr. Brown’s funds needed for

daily necessities when he shows no likelihood or ability to have future increases to

his inmate fund would be manifestly unjust. Even the Bureau of Prisons recognizes

the inequity of seizing the entire balance of an inmate account and this Court’s own

judgment in this case states “all criminal monetary penalties are due in full

immediately….During incarceration it is recommended that the defendant pay

criminal monetary penalties through an installment plan in accordance with the

Bureau of Prison’s Inmate Financial Responsibility Program at the rate of 50% of

the funds available to the defendant.” The government’s request for seizure of the

entire inmate account without any demonstration that Mr. Brown’s “windfall”

provides any mechanism for future income is counter to the original sentencing

order and the Bureau of Prison Financial Responsibility Program.

      Moreover, the government acknowledges that certain property is exempt

from seizure in a criminal case. The government incorrectly states that because



                                          4
     Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 5 of 7 PageID #: 261




the payment Mr. Travion may have received under the CARES Act is cash it does

not fall within any applicable exemption. However, the exemptions listed in 18

U.S.C. 3613(a)(1) specifically prohibit seizure of cash from workmen’s compensation,

unemployment benefits and certain pension payments. No one could have

anticipated the COVID pandemic which has swept our nation but the type of cash

benefits which Congress has specifically excluded from seizure are cash payments

designed to supplement during periods of hardships - similar to the funds dispersed

under the CARES Act. However, the cash assets excluded from seizure are

different in that many of those cash payments protected from seizure are payments

which could actually change a defendant’s economic circumstances if they are

ongoing or continuous payments. A single stimulus check is a sharp contrast and it

will not provide any on going change in circumstances.

         b. The government has not certified to this Court that it has notified
         the victim.

         The government is required by statute to “certify to the court that the victim

or victims owed restitution by the defendant have been notified of the change in

circumstances.” 12 To date the government has not yet provided this Court with any

form of certification stating that the victims have been notified. 13 Because the

government has not yet complied with the statute’s victim notification requirement,


12 18 U.S.C. § 3664(k); United States v. Dye, 2002 WL 31245976, at *219 (“The Attorney General
must certify to the court that the victim or victims owed restitution by the defendant have been
notified of the change in circumstances. After receipt of notification, the court may adjust the
restitution payment schedule.”); United States v. Day, No. 4:06–CR–767 CAS, 2009 WL 2948462, at
*3 (E.D. Mo. Sept. 14, 2009) (same).
13 Doc. No. 72 at 5 (“The United States is serving Defendant with a copy of this motion by first class

mail, postage prepaid, and he may object to the intended use of his property. The United States is
not aware of any other party who may claim an interest in this property.”).

                                                   5
 Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 6 of 7 PageID #: 262




this Court lacks jurisdiction to grant the requested relief and the government’s

motion should be denied.

      WHEREFORE, counsel requests the Court deny the government’s request to

seize all of defendant’s inmate funds on the grounds that 1) they have failed to

comply with the statutory requirement to demonstrate a change in economic

circumstances; 2) they have failed to show that the funds requested not similar in

kind to those anticipated to be exempt from seizure by virtue of their nature and

intent and 3) they have failed to show that even if a single stimulus check

represents a change in economic circumstances that seizure of the entire inmate

fund would be appropriate or just given that Mr. Brown has no method or means to

regenerate the meager funds he held prior to any payout under the CARES Act.



                                              Respectfully submitted,

                                              /s/Nanci H. McCarthy
                                              NANCI H. MCCARTHY
                                              Assistant Federal Public Defender
                                              1010 Market Street, Suite 200
                                              St. Louis, Missouri 63101
                                              Telephone: (314) 241-1255
                                              Fax: (314) 421-3177
                                              E-mail: Nanci_McCarthy@fd.org

                                              ATTORNEY FOR DEFENDANT




                           CERTIFICATE OF SERVICE




                                          6
 Case: 4:17-cr-00051-RLW Doc. #: 80 Filed: 03/12/21 Page: 7 of 7 PageID #: 263




      I hereby certify that on March 12, 2021, the foregoing was filed electronically
with the Clerk of the Court to be served by operation of the Court’s electronic filing
system upon Anthony Debre, Assistant United States Attorney.

                                              /s/Nanci H. McCarthy
                                              NANCI H. MCCARTHY
                                              Assistant Federal Public Defender




                                          7
